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                         UNITED STATES DISTRICT         ~~16l{R 2Y Prl12 26
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                              DISTRICT OF CONNECTICU'NEW H;WcN, CT.


     NA T ASHA MA TELJEVIC
                                                            3 ',I Y. C\I '051-( AWT)
     VS .                                                  CIVIL ACTION NO .

     YALE UNIVERSITY                                       APRIL 17,2014


                                        COMPLAINT


               Plaintiff Natasha Mateljevic, by and through her undersigned counsel, files

her suit against Yale University ("Yale"), and in support thereof alleges the following.

    INTRODUCTION

        1.       This is a tort action alleging violation of Title IX of the Education

Amendments Act of 1972, 20 U.S.C. §§ 1681 et seq. ("Title IX").

       2.        In 2001 Natasha Mateljevic came to Yale University to obtain a graduate

degree in chemistry and physics with Professor John C. Tully. At that time Professor

Tully described her as one of his most brilliant student. Ms. Mateljevic's performance

was excellent and she was deigned an honors student.

       3.        Ms. Mateljevic met Raphael Crespo, an East Windsor, Connecticut police

officer became involved in a relationship in which Mr. Crespo became abusive and

controlling.    In 2004, Mr. Crespo raped Ms. Mateljevic on campus at gunpoint.              Mr.

Crespo threatened Ms. Mateljevic with her life if she told anyone; she was terrified of Mr.

Crespo and his friends who were also officers with weapons. Ms. Mateljevic continued her
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graduate studies with distinction while enduring multiple abusive episodes.

        4.       Ms. Mateljevic was living at the Hall of Graduate Studies at 320 York

Street, New Haven, Connecticut, a Yale University housing facility. In addition, she was

studying and working toward her doctoral requirements at 225 Prospect Street, New

Haven, Connecticut, a Yale University academic facility. Both locations are where Mr.

Crespo's abuse occurred including stalking, physical and sexual assault, and kidnapping.

During the abuse Ms. Mateljevic continued her graduate studies all the while obtaining

honors grades and still being referred as Professor Tully's most brilliant student, and

receiving support for her research despite enduring the relationship abuse and fear. Ms.

Mateljevic was too afraid to complain based on Mr. Crespo's police officer status and

threats. Mr. Crespo was eventually arrested for rape, abuse and kidnapping, convicted at

trial and sent to jail.

        5.       When the violence was occun'ing, and then when Mateljevic came forward

to report the rape and abuse, Yale University denied her Title IX rights and harassed and

discriminated against her while she sought access to her education. In fact, once Ms.

Mateljevic came forward she was unlawfully retaliated and discriminated against while

making concerted efforts to study and conduct her research to continue her science career.

Yale harassed and discriminated against Ms, Mateljevic repeatedly according to Title IX

law including, inter alia: denying equal access to educational opportunities and making

decisions that isolated her from the department, her mentor/advisor, John C. Tully, who

suddenly and without warning refused to advise her in her degree program; he would not

answer e-mails; he would not allow her to use her original research for her doctoral


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dissertation and did not support her research; and, he did not acknowledge her contribution

to scholarly publications. Ms. Mateljevic's academic degree program and employment

0ppOliunities became diminished when other less qualified candidates received positions

resulting in her loss of academic stature and career opportunities.          Ms. Mateljevic's

employment was terminated without cause in 2013.

       6.        The chain of retaliation began in 2004 once Ms. Mateljevic came forward to

report her rape, and continued thereafter.

       7.        The defendant used internal controls such as private medical information

from the Yale University Health Plan to deny the plaintiff educational and employment

opportunities guaranteed by Title IX.

       Parties

       8.        Plaintiff is a female resident of Ohio. Ms. Mateljevic's began her graduate

degree at Yale in June of2001 until the termination of her employment.

       9.        Defendant Yale University is a private university located in New Haven,

Connecticut which employs over five (500) hundred individuals.

       10.       Yale University has received and continues to receIve federal financial

assistance and benefits which makes Yale University is subject to the requirements of Title

IX.

       Jurisdiction

       11.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.c. §§ 1331 and 1343.

       12.       Defendant is an educational institution receiving federal financial assistance


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    for its education and athletic programs and is an enterprise engaged in commerce. Yale

    University is a fully accredited, private university.

            Venue

            13.     Venue is proper in this Court pursuant to 28 U.S.c. § 1391 on the grounds

    that the events giving rise to Ms.Mateljevic's claims occurred in this district, and Yale

    University is in this district.

            Facts

            14.     In June of2004, Ms. Mateljevic was crying with a red, bruised face after she

    was Mr. Crespo's victim as he beat her in his gray Nissan car in front of her dorm hall at

    320 York Street on the Yale campus. Mr. Crespo's car was blocking York Street so Yale

    Police Officer Ivan Griffiths approached the car and viewed the results of Mr. Crespo's

    physical abuse which included red marks on Ms. Mateljevic's face.          Officer Griffiths

)   registered shock when looking in the car. Mr. Crespo hopped out of the car quickly and

    flashed his police badge to Officer Griffiths who took another look at Mateljevic.   Officer

    Griffiths then told Crespo, "Take this elsewhere - off Yale property. Go make love and not

    war." Officer Griffith never even asked Ms. Mateljevic if she was okay or needed help or

    whether she was a Yale student.

            15.     Shortly after June 17, 2004, Mr. Crespo intensified his assaults as he was

    alarmed by the encounter with Officer Griffiths.        Ms. Mateljevic was found by other

    graduate students including Denis Murphy, on the street in the rain, bleeding in her

    bathrobe. They stayed with her that night.

            16.     In the following weeks Ms. Mateljevic tried to galvanize strength to


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advocate for herself. Her advisor, Professor Tully was aware of the abuse and one night he

gave Ms. Mateljevic his credit card to be used as payment for a one night stay in a hotel

room so she could avoid more abuse.

         17.    Associate Dean of Yale Graduate School Arts and Sciences, Richard Sleight

was notified of the incident before Yale Police acted on Ms. Mateljevic's behalf. Ms.

Mateljevic was made to recount her highly personal and humiliating experience of ongoing

rape and abuse to her Graduate Dean Sleight and her Graduate Advisor, Professor John

Tully.    Ms. Mateljevic was again traumatized by having to reveal these facts to the

academic leaders whom she was relying upon to mentor her science career. Throughout

this entire time frame Professor Tully was aware that Mr. Crespo was calling Ms.

Mateljevic's office and harassing her.

         18 .   Later Ms. Mateljevic had to describe her ordeal in detail, again, this time in

front of Graduate Dean Sleight and Yale Police Detective Natalie Klotsche.

         19.    In violation of Title IX,   Dean of Graduate Studies Richard Sleight and

Professor John C. Tully allowed a hostile academic and work environment that served as a

toxic mix for women studying graduate science at Yale. Professor Tully enabled a sexual

predator, Stephen Corcelli, to harass, attempt assault and to discriminate against women in

the department. Mr. Corcelli served as a boss to Rose Murphy, a brilliant graduate student

who had to discontinue her graduate studies after complaining to Professor Tully of

harassment by Mr. Corcelli, and then experiencing retaliation that she could not endure.

Mr. Corcelli harassed Ms. Mateljevic as well, when she was a first year graduate student

calling her in the middle of the night many times to get her to come to play strip poker and


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to watch pornography in Professor Tully's conference room while he was a senior post-

doctorate.    Ms. Mateljevic did not complain about Mr. Corcelli based on her ongoing

struggles and witnessing the struggles of Rose Murphy.

       20.     On February 3, 2005, Mr. Crespo was arrested and charged with, inter alia,

several counts of sexual assault in the first degree and several counts of assault and

kidnapping. In May 2006, he was convicted in the New Haven Superior Court on multiple

counts of sexual assault against Ms. Mateljevic and he was sentenced to 26 years in prison,

suspended after 15, but with life time parole and probation. He is a registered sex offender

and Ms. Mateljevic has a life time protective order against him.

       21 .    During this time the defendant received negative attention from the media

regarding Ms. Mateljevic's rape, Dean Sleight and Professor Tully were urging Ms.

Mateljevic to leave Yale as soon as was possible. Professor Tully said this matter was

reflecting poorly on him. Professor Tully told YPD detectives, Peter Brano and Thomas

Mullin, that he was upset to be involved in this and that Ms. Mateljevic, though his most

brilliant student, was now "ruined."

       22.     Dean Richard Sleight and Professor John Tully encouraged Ms. Mateljevic

to discontinue her academic studies. They also assigned her graduate work without merit

in an attempt to get her to leave and terminate her academic pursuits.

       23.     Professor Tully told Ms. Mateljevic's peer academics to not be affiliated

with her because it would not be good for their academic advancement.

       24.     In February 2006, Ms. Mateljevic was to present her research findings to

NASA, the Department of Defense and Air Force at a conference and traveled with


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Professor Tully. While traveling with Ms. Mateljevic, Professor Tully told the plaintifTthat

"you are no good - how could you have allowed yourself to get raped?" He asked why it

didn't happen to her colleagues and wanted to know what was wrong with her. At the end

of the conference Professor Tully suggested Ms. Mateljevic should not attend the planned

ski trip with colleagues. After the conference Professor Tully told Ms. Mateljevic that she

"overspent" on the conference trip. However, Professor Tully had booked the whole trip

and Ms. Mateljevic had no control over trip costs.

         25.   On July 26 th , 2006, after the Mr. Crespo's criminal trial Ms. Mateljevic was

moved to another office for safety.       Professor Tully humiliated Ms. Mateljevic by

denigrating her for being in this situation as if she caused her own rape. Professor Tully

neglected working with her on her research and did not answer her electric mail

correspondence.

         26.   Dean Richard Sleight, Professor John Tully and other department members

continued to harass Ms. Mateljevic by constantly suggesting that she leave Yale and New

Haven.

         27.   Professor Tully further attempted to rupture Ms. Mateljevic's access to her

education by secretly writing to Ms. Mateljevic's mother on November 8, 2006 to plead

with her to get her daughter to leave New Haven.

         28.   Professor Tully continued to harass and deny Mr. Mateljevic equal access to

her education. He said that she would have to explore other options for her future that were

"not academic," and that "you do not have the psychological capacity to be in academia."

Professor Tully went on to tell Ms. Mateljevic women want to start families and asked if


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she knew of any woman that is top notch, in theoretical chemistry, and do anything in the

end that is worthwhile, except, entertain? Ms. Mateljevic told him she wanted to stay in

academia. Professor Tully said she must leave his group. For the first time ever, Ms.

Mateljevic received a High Pass from Professor Tully on independent research instead of

Honors.

       29.     Professor Tully commented to Detective Peter Brano that that Ms.

Mateljevic is "ruined for life," and that "her career is ruined after what has happened to

her." Detective Brano told Ms. Mateljevic that she must be careful of Professor Tully

because he does not have a healthy way of understanding what happened to her.

       30.     In May 2007 Dean Richard Sleight invited Ms. Mateljevic to lunch at the

Hall of Graduate Studies. At the end of the lunch he told her, "I know you are suing us.

You will regret this. We have the best lawyers in the world. Your career is destroyed."

       31.     In August 2007, Professor Tully told Ms. Mateljevic to stop wasting time

with lawyers to concentrate on graduating and leaving New Haven.

       32.     Due to the harassment of Professor Tully and others in 2007-2008, Ms.

Mateljevic left the group and transferred into biomedical engineering.        Professor Tully

continually intentionally supplied Ms. Mateljevic with erroneous information about faculty

she could continue her academic research with.          Ms. Mateljevic had to give up all her

research and start over in a different academic area.

       33.     In April, 2011, 16 Yale students filed a complaint with the Department of

Education's Office for Civil Rights alleging multiple violations of students' federal rights

under Title IX. The complaint alleged that Yale failed to adopt effective and equitable


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policies and procedures. Many of the same problems identified in the students' complaints

of discrimination and harassment and denial of equitable treatment while pursuing their

academic careers are similar to Ms. Mateljevic's experience.

       34.     Ms. Mateljevic worked in the physics department with Professor Meg Urry

beginning in May, 2012, teaching as part of a special initiative to bring interactivity and

technology into the classroom during a five year agreement.

       35.     On December 10, 2012, Yale Police Officer Thomas Mullen informed

physics department business manager John Fox that Ms. Mateljevic's rapist, Raphael

Crespo was going to be released from prison sometime thereafter Ms. Mateljevic received

this information

       36.     December 11, 2012, Ms. Mateljevic is called into Department Chair Meg

Urry's office and is told all of the sudden that she is an inadequate teacher. Ms. Mateljevic

is told she does not have a job next year and that Chair Urry is uncomfortable as she

reminds Ms. Mateljevic that she is stepping down as department chair so she could not help

her.

       37.     Ms. Mateljevic is taken off department announcement and distribution lists.

She is locked out of university websites that she used to access and all her colleagues tell

her she will no longer be teaching. Ms. Mateljevic's teaching assistants will no longer

speak to her and she is locked out of her class.

       38.     Ms. Mateljevic is denied access to educational opportunities again.

       39.      Ms. Mateljevic is refused references for her academic work at Yale

University.


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       FIRST CLAIM FOR RELIEF: RETALIATION IN VIOLATION OF 42 U.S.c.
§§ 2003-1 et seq.


          1-39   Plaintiff repeats, realleges, and incorporates by reference herein paragraphs

1-39.

        40.      Yale retaliated against Natasha Mateljevic in violation of 42 U.S.C. §§

2000e- 1, et seq. because she came forward to report disparate treatment and was denied

her Title IX rights.

        41.      Repeatedly and during a course of conduct from 2004 when Ms. Mateljevic

was a graduate student to 2012, Ms. Mateljevic endured retaliation by Yale University, and

it's agents, in response to her complaints about the hostile environment to which she was

being subjected.

        42.      Yale's retaliatory acts caused Ms. Mateljevic to suffer adverse consequences

in her academic career and employment.

        43.      Ms. Mateljevic was harassed, discriminated against and ultimately was

terminated from employment at Yale University in retaliation for coming forward to report

rape and complaining about the hostile environment to which she was being subjected, and

for Yale's noncompliance with Title IX.

        44.      As a direct and proximate result of Yale University's actions, Ms.

Mateljevic suffered and continues to suffer lost earnings and benefits, emotional pain,

adverse     medical    diagnoses,   suffering,   professional   and   personal   embarrassment,

humiliation, loss of enjoyment of life, and inconvenience.




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        SECOND CLAIM FOR RELIEF: RETALIATION IN VIOLATION OF
CONN. GEN. STAT. §§_46a-60 et seq.

         1-44   Plaintiff repeats, realleges, and incorporates by reference herein paragraphs

1-44.

         45.    Conn. Gen. Stat § 46a-60 (4) provides that "It shall be a discriminatory

practice ...    (4) For any person, employer, labor organization or employment agency to

discharge, expel or otherwise discriminate against any person because such person has

opposed any discriminatory employment practice .... "

         46.    Yale University retaliated against Ms. Mateljevic for her good faith

reporting and complaining about Yale University's noncompliance with Conn. Gen. Stat §

46a-60 (4).

         47.    Repeatedly and during a course of conduct from 2004 to 2012, Ms.

Mateljevic endured retaliation by Yale University and it's agents in response to her

complaints about the hostile environment to which she was being subjected.

         48.    Yale University'S retaliatory acts caused Ms. Mateljevic to suffer adverse

consequences in her employment.

         49.    Ms. Mateljevic was harassed, discriminated against and ultimately was

terminated from employment at Yale University in retaliation for coming forward to report

rape and complaining about the hostile environment to which she was being subjected, and

for Yale University'S noncompliance with Title IX.

         50.    As a direct and proximate result of Yale University'S actions, Ms.

Mateljevic suffered and continues to suffer lost earnings and benefits, emotional pain,

suffering, professional and personal embarrassment, humiliation, loss of enjoyment of life,

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and inconvenience.


PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Natasha Mateljevic prays for relief as follows: (1) with

respect to all Claims for Relief, judgment awarding Plaintiff back pay, front pay, damages

for adverse medical diagnoses, emotional distress, compensatory damages, and punitive

damages in an amount to be determined at trial but no less than $10 million; (2) with respect

to all Claims for Relief, an award to Plaintiff of her attorneys' fees and costs; (3) with

respect to all Claims for Relief, prejudgment interest at the statutory rate; and (4) such other

and further relief as the Court may deem appropriate.

                                                      Respectfully submitted,
                                                      THE PLAINTIFF,
                                                      NAT ASHA MATELJEVIC




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